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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          EUREKA DIVISION

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                                        DAVID SCOTT HARRISON,
                                   8                                                        Case No. 16-cv-07103-NJV (NJV)
                                                       Plaintiff,
                                   9                                                        ORDER DENYING PLAINTIFF'S
                                                v.                                          OPPOSITION TO NOTICE OF
                                  10                                                        REMOVAL
                                        S. KERNAN, et al.,
                                  11                                                        Re: Dkt. No. 8
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




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                                  17          This case was originally filed in California Superior Court for the County of Marin. It was

                                  18   removed to this court on December 13, 2016. (Doc. 1.) On December 22, 2016, Plaintiff filed an

                                  19   "opposition" to the removal, which the court will construe as a motion for remand. (Doc. 8.)

                                  20          Pursuant to 28 U.S.C. Section 1441, "[e]xcept as otherwise expressly provided by Act of

                                  21   Congress, any civil action brought in a State Court of which the district courts of the United States

                                  22   have original jurisdiction, may be removed by the defendant or defendants, to the district court of

                                  23   the United States for the district and division embracing the place where the action is pending."

                                  24          The district courts of the United States have original jurisdiction over "all civil actions

                                  25   arising under the Constitution, laws or treaties of the United States." The complaint in the present

                                  26   case alleges that Defendants "have , and continue, to violate the Equal Protection Clause of the

                                  27   Fourteenth Amendment, of the United States Constitution." (Doc. 1-1.) This action therefore

                                  28   arises under the Constitution of the United States and this court has original jurisdiction over the
                                          Case 1:16-cv-07103-NJV Document 12 Filed 01/20/17 Page 2 of 2




                                   1   action. The removal was proper, and Plaintiff's opposition, is THEREFORE DENIED.

                                   2         IT IS SO ORDERED.

                                   3   Dated: January 20, 2017

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                                                                                  NANDOR J. VADAS
                                   5                                              United States Magistrate Judge
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                                  12
Northern District of California
 United States District Court




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